                  Case 2:11-cr-00054-TLN-CKD Document 326 Filed 03/18/15 Page 1 of 12
AO 245B-CAED(Rev. 09/2011) Sheet 1 - Amended Judgment in a Criminal Case        (NOTE: Identify Changes with Asterisks*)



                              UNITED STATES DISTRICT COURT
                                                   Eastern District of California
                UNITED STATES OF AMERICA                                      AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                              (For Offenses Committed On or After November 1, 1987)
                           v.
                    MICHAEL BOLDEN                                            Case Number: 2:11CR00054-02
                                                                              Defendant's Attorney: Michael Hansen, Appointed
 Date of Original Judgment:              September 12, 2014
 (Or Date of Last Amended Judgment)

Reason for Amendment:
    Correction of Sentence on Remand (Fed R. Crim. P. 35(a))                    Modification of Supervision Conditions (18 U.S.C. § 3563(c) or 3583(e))
                                                                                Modification of Imposed Term of Imprisonment for Extraordinary and
    Reduction of Sentence for Changed Circumstances (Fed R. Crim. P. 35(b))
                                                                                Compelling Reasons (18 U.S.C. § 3582(c)(1))
                                                                                Modification of Imposed Term of Imprisonment for Retroactive Amendment
    Correction of Sentence by Sentencing Court (Fed R. Crim. P. 35(c))
                                                                                (s) to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
    Correction of Sentence for Clerical Mistake (Fed R. Crim. P. 36)            Direct Motion to District Court Pursuant to    28 U.S.C. §2255,
                                                                                    18 U.S.C. §3559(c)(7),      Modification of Restitution Order
THE DEFENDANT:
     pleaded guilty to count 3 of the Superseding Indictment.
     pleaded nolo contendere to count(s)      which was accepted by the court.
     was found guilty on count(s)     after a plea of not guilty.
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense (s):
                                                                                                                      Date Offense            Count
Title & Section                          Nature Of Offense
                                                                                                                      Concluded               Number
                                         Wire Fraud
18 U.S.C. § 1343                                                                                                      05/13/2008              3
                                         (CLASS C FELONY)

       The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

     The defendant has been found not guilty on count(s)      and is discharged as to such count(s).
     Counts 1, 2, and 4-27 are dismissed on the motion of the United States.
     Indictment is to be dismissed by District Court on motion of the United States.
     Appeal rights given.                              Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material changes in
economic circumstances.
                                                                              2/26/2015
                                                                              Date of Imposition of Judgment




                                                                              Signature of Judicial Officer
                                                                              Troy L. Nunley, United States District Judge
                                                                              Name & Title of Judicial Officer
                                                                              3/18/2015
                                                                              Date
                 Case 2:11-cr-00054-TLN-CKD Document 326 Filed 03/18/15 Page 2 of 12
AO 245B-CAED(Rev. 09/2011) Sheet 2 - Imprisonment
DEFENDANT:MICHAEL BOLDEN                                                                                                        Page 2 of 6
CASE NUMBER:2:11CR00054-02

                                                          IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
240 months.

      No TSR: Defendant shall cooperate in the collection of DNA.

      The court makes the following recommendations to the Bureau of Prisons:
      The Court recommends that the defendant be incarcerated in a Northern California facility, but only insofar as this accords with
      security classification and space availability.

      The defendant is remanded to the custody of the United States Marshal.

       The defendant shall surrender to the United States Marshal for this district
              at     on     .
              as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               before       on    .
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Officer.
       If no such institution has been designated, to the United States Marshal for this district.

                                                                RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                       to
at                                                  , with a certified copy of this judgment.



                                                                       United States Marshal


                                                                       By Deputy United States Marshal
                 Case 2:11-cr-00054-TLN-CKD Document 326 Filed 03/18/15 Page 3 of 12
AO 245B-CAED(Rev. 09/2011) Sheet 3 - Supervised Release
DEFENDANT:MICHAEL BOLDEN                                                                                                         Page 3 of 6
CASE NUMBER:2:11CR00054-02

                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
36 months.

The defendant must report to the probation office in the district to which the defendant is released within seventy-two hours of
release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two (2) periodic drug
tests thereafter, not to exceed four (4) drug tests per month.

      The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
      substance abuse.

      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

      The defendant shall cooperate in the collection of DNA as directed by the probation officer.

      The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
      seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or
      she resides, works, is a student, or was convicted of qualifying offense.

      The defendant shall participate in an approved program for domestic violence.

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                                       STANDARD CONDITIONS OF SUPERVISION
1.       The defendant shall not leave the judicial district without permission of the court or probation officer;
2.       the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3.       the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4.       the defendant shall support his or her dependents and meet other family responsibilities;
5.       the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or
         other acceptable reasons;
6.       the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7.       the defendant shall refrain from excessive use of alcohol;
8.       the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9.       the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
         convicted of a felony unless granted permission to do so by the probation officer;
10.      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit
         confiscation of any contraband observed in plain view by the probation officer;
11.      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
         enforcement officer;
12.      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
         the permission of the court;
13.      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
         criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
         confirm the defendant’s compliance with such notification requirement.
                 Case 2:11-cr-00054-TLN-CKD Document 326 Filed 03/18/15 Page 4 of 12
AO 245B-CAED(Rev. 09/2011) Sheet 3 - Supervised Release
DEFENDANT:MICHAEL BOLDEN                                                                                                           Page 4 of 6
CASE NUMBER:2:11CR00054-02

                                         SPECIAL CONDITIONS OF SUPERVISION
1.       The defendant shall submit to the search of his person, property, home, and vehicle by a United States probation officer, or
         any other authorized person under the immediate and personal supervision of the probation officer, based upon reasonable
         suspicion, without a search warrant. Failure to submit to a search may be grounds for revocation. The defendant shall warn
         any other residents that the premises may be subject to searches pursuant to this condition.
2.       The defendant shall not dispose of or otherwise dissipate any of his assets until the fine and/or restitution ordered by this
         Judgment is paid in full, unless the defendant obtains approval of the Court or the probation officer.
3.       The defendant shall provide the probation officer with access to any requested financial information.
4.       The defendant shall not open additional lines of credit without the approval of the probation officer.
                 Case 2:11-cr-00054-TLN-CKD Document 326 Filed 03/18/15 Page 5 of 12
AO 245B-CAED(Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
DEFENDANT:MICHAEL BOLDEN                                                                                                          Page 5 of 6
CASE NUMBER:2:11CR00054-02

                                              CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                 Assessment                      Fine                        Restitution
         TOTALS                                   $100.00                       $Waived                    $22,213,109.10*
      The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
      otherwise in the priority order or percentage payment colunm below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
      victims must be paid before the United States is paid.

Name of Payee                                                Total Loss*       Restitution Ordered Priority or Percentage
*SEE ATTACHED.                                           $22,213,109.10               $22,213,109.10
Totals                                                   $22,213,109.10               $22,213,109.10
      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
      subject to penalities for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

             The interest requirement is waived for the             fine      restitution

             The interest requirement for the            fine       restitution is modified as follows:


      If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter and payment shall be
      through the Bureau of Prisons Inmate Financial Responsibility Program.

      * If incarcerated, payment of the restitution is due during imprisonment at the rate of not less than $25 and not more than $40
      per quarter and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.
*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
                 Case 2:11-cr-00054-TLN-CKD Document 326 Filed 03/18/15 Page 6 of 12
AO 245B-CAED(Rev. 09/2011) Sheet 6 - Schedule of Payments
DEFENDANT:MICHAEL BOLDEN                                                                                                            Page 6 of 6
CASE NUMBER:2:11CR00054-02

                                                     SCHEDULE OF PAYMENTS
        Payment of the total fine and other criminal monetary penalties shall be due as follows:

A.               Lump sum payment of $             due immediately, balance due
                       Not later than      , or
                       in accordance          C,       D,      E,or       F below; or
B.               Payment to begin immediately (may be combined with               C,      D,    or    F below); or

C.               Payment in equal    (e.g. weekly, monthly, quarterly) installments of $       over a period of         (e.g. months or
                 years), to commence     (e.g. 30 or 60 days) after the date of this judgment; or

D.               Payment in equal    (e.g. weekly, monthly, quarterly) installments of $     over a period of     (e.g. months or
                 years), to commence     (e.g. 30 or 60 days) after release from imprisonment to a term of supervision; or

E.               Payment during the term of supervised release will commence within     (e.g. 30 or 60 days) after release from
                 imprisonment. The court will set the payment plan based on an assessment of the defendants ability to pay at that
                 time; or

F.               Special instructions regarding the payment of crimimal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

         Joint and Several

* Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate: The defendant shall pay restitution in the amount of $22,213,109.10 jointly and severally
with co-defendants Christopher Jackson (2:11CR00054-01), Victor Alvarado (2:11CR00054-03), Erica Arceo (2:11CR00054-04)
and Nicholo Arceo (2:11CR00054-05), and defendant Garry Bradford (2:11CR00171-01), as outlined in the attached victim table.

         The defendant shall pay the cost of prosecution.

         The defendant shall pay the following court cost(s):

         The defendant shall forfeit the defendant's interest in the following property to the United States:
         The Application and Order for Money Judgment filed July 25, 2014, is hereby made final as to this defendant and shall be
         incorporated into this Judgment.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
                    Case 2:11-cr-00054-TLN-CKD Document 326 Filed 03/18/15 Page 7 of 12


                                           Table of Restitution Payments to Victims
                              United States v. Michael Bolden, et al. Case No. 2:11-cr-0054 TLN

                                                      Total Amount:
                                             Michael Bolden – 22,213,109.10
                                            Christopher Jackson – 19,912,969.55
                                             Victor Alvarado – 21,805,827.91
                                               Nicholo Arceo – 8,388,455.56
                                                 Erica Arceo – 8,388455.56

Michael Bolden   Victor Alvarado                                   Akinmurele, Shernette          114,999.38
Michael Bolden                                                     Ali, Khairul                   75,000.00
Michael Bolden   Victor Alvarado                                   Alvarado, Rafael               60,000.00
Michael Bolden   Victor Alvarado                                   Anderson, Alvenia              98,787.00
Michael Bolden   Victor Alvarado    Christopher Jackson   Arceos   Andrus, Darlyne                123,000.00
Michael Bolden   Victor Alvarado    Christopher Jackson            Arnold, Patricia & Fred        111,131.73
Michael Bolden   Victor Alvarado    Christopher Jackson   Arceos   Ayala Jr., Robert B.           17,500.00
Michael Bolden   Victor Alvarado    Christopher Jackson   Arceos   Ayala, Ramona                  4,000.00
Michael Bolden   Victor Alvarado    Christopher Jackson   Arceos   Baker, Mildred E               10,000.00
Michael Bolden   Victor Alvarado    Christopher Jackson            Barney, Gregory                31,086.39
Michael Bolden   Victor Alvarado    Christopher Jackson            Battle, James & Annie          142,000.00
Michael Bolden   Victor Alvarado    Christopher Jackson            Bell, Mae                      272,691.16
Michael Bolden   Victor Alvarado                                   Bell, Robert                   3,729.00
Michael Bolden   Victor Alvarado    Christopher Jackson            Benjamin, Johnnie              25,000.00
Michael Bolden   Victor Alvarado                                   Betts, Jay Gordon              105,000.00
Michael Bolden   Victor Alvarado    Christopher Jackson            Bolden, Wendy                  120,754.28
Michael Bolden   Victor Alvarado                                   Bowman, Barbara                287,977.24
Michael Bolden   Victor Alvarado    Christopher Jackson   Arceos   Bradford, Lisa                 7,578
Michael Bolden   Victor Alvarado    Christopher Jackson   Arceos   Brazis, Steven                 463,425.00
Michael Bolden   Victor Alvarado    Christopher Jackson            Brown, Debra                   63,283.63
Michael Bolden   Victor Alvarado    Christopher Jackson            Brown, Shirley                 5,495.86
Michael Bolden   Victor Alvarado    Christopher Jackson            Bryant, Anthony                9,504.36
Michael Bolden   Victor Alvarado                                   Byrd, Kevin                    11,860.16
Michael Bolden   Victor Alvarado    Christopher Jackson   Arceos   Cade, Donald                   92,000.00
Restitution Table      Case 2:11-cr-00054-TLN-CKD Document 326 Filed 03/18/15 Page 8 of 12
2:11-cr-0054 TLN


Michael Bolden      Victor Alvarado                                  Cooks, Antonio           1,749.96
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Covington, Jacquelyn     167,940.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Crichton, Laurence E     160,068.70
Michael Bolden      Victor Alvarado                                  Davis Jr., Herman L      43,245
Michael Bolden      Victor Alvarado   Christopher Jackson            Day, Jacqueline          83,315
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Dea, Lawrence            100,258.57
Michael Bolden      Victor Alvarado   Christopher Jackson            DeLeon, Carlos           213,722.88
Michael Bolden      Victor Alvarado   Christopher Jackson            Delerme, Nathalie M      18,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Dixon, Lisa              104,600.00
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Drummond, Maria          168,399.76
Michael Bolden      Victor Alvarado                                  Fainu, Ofa               143.96
Michael Bolden      Victor Alvarado                                  Feliciano, Kimberly      28,329.26
Michael Bolden      Victor Alvarado   Christopher Jackson            Ferguson, Bart           80,550.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Fisher, Anna             500.00
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Friedmand, Maria         40,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Gambrell, Leroy          1,469,066.68
Michael Bolden      Victor Alvarado                                  Goodrich, Charles        20,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Granados, Juan & Maria   35,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Gray‐Klahr, Caroline     215,500.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Greer, Mary L            156,500.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Guerrero, Norma          8,300.00
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Guitron, Joel            25,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Gulley, Benicia          3,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Gutierrez, Grace         185,358.55
Michael Bolden      Victor Alvarado   Christopher Jackson            Hannum, Sandra           25,990.85
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Harding, Bonnie          243,275.00
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Harris, Vincent          44,690.02
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Heinsohn, Jeffrey        264,000.00
Michael Bolden                                                       Henly, Herman            10,000.00
Michael Bolden      Victor Alvarado                                  Herrera, Rachel          273,566.23
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Herrera, Vicki Arlene    69,281.57

2
Restitution Table      Case 2:11-cr-00054-TLN-CKD Document 326 Filed 03/18/15 Page 9 of 12
2:11-cr-0054 TLN


Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Herron, Joyce                100,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Hewlett, Dontrell            10,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Hollington, Oliver           97,683.00
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Howe, Todd                   19,081.55
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Ing, Helen                   105,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Ing, Lawrence W.             194,800.00
Michael Bolden      Victor Alvarado   Christopher Jackson            James, Jeff                  150,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Jenanyan, Ron & Valerie      255,469.78
Michael Bolden      Victor Alvarado   Christopher Jackson            Jerue, Gregg                 493,982.13
Michael Bolden      Victor Alvarado   Christopher Jackson            Johnson, Beverly             48,524.47
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Jones, Katrina               87,500.00
Michael Bolden                                                       Jones, William               12,333.35
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Keyes, Willie                92,710.14
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Knott, Patti                 27,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Krugman, Linda               118,449.50
Michael Bolden      Victor Alvarado   Christopher Jackson            Lara, Pete                   52,500.00
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Laroche, W. Michael          50,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Leis, Peter Sandra           155,320.89
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Lemon Sr, Jerry Ray          270,879.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Lewis, Ruben                 50,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Llewellyn, Mary              25,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Lopez, Ethelda & Antonio     466,135.00
Michael Bolden      Victor Alvarado                                  Macfarlane, Christine        30,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Madden, Lloyd                106,861.83
Michael Bolden      Victor Alvarado   Christopher Jackson            Mares, Maria                 75,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Martin, David                110,000.00
Michael Bolden      Victor Alvarado                                  Martinez, Graciela           68,733.32
Michael Bolden      Victor Alvarado   Christopher Jackson            Martinez, Jesus              50,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Martinez, Yolanda & Rafeal   50,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Matthews, Sheila             140,434.62
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Mcbride, Fannie              97,500.00

3
Restitution Table     Case 2:11-cr-00054-TLN-CKD Document 326 Filed 03/18/15 Page 10 of 12
2:11-cr-0054 TLN


Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   McClain, Vera                  35,000
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   McFadden, Carolyn and Roy      1,428,306.11
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   McGee, Bernadine & Robert      244,216.70
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   McIntyre Jr, Benjamin Layton   126,958.42
Michael Bolden      Victor Alvarado   Christopher Jackson            McKeag, Gregory                49,960.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Melody, Michael & Linda        65,121.93
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Metz, Maria Paula              292,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Meyers, Jennifer               90,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Moltzner, John                 244,940.49
Michael Bolden                                                       Morgera, Erica                 80,425.00
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Morris, King                   120,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Mota, Laercio                  948,100.89
Michael Bolden      Victor Alvarado                                  Munoz, Angela & John           16,600.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Nguyen, Phong (Peter)          79,500.00
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Nystrom, Catherine             51,784.00
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Nystrom, Jon                   36,460.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Ochoa, Francisco               99,900.00
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Ortega, Elizabeth              332,225.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Parker, Donald                 82,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Pendley, Don                   62,833.32
Michael Bolden      Victor Alvarado                                  Perkins, Danette               25,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Porter, Rheuhama               30,250.01
Michael Bolden                                                       Powell, William                10,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Pree, Fred                     5,390.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Pree, Martha                   387,913.42
Michael Bolden      Victor Alvarado                                  Rama, Isidora                  100,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Ransdell, Dennis               135,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Record, William & Darlene      6,800.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Redmond, Keshia                29,500.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Richley, Sarah                 186,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Rodriguez, Shaqwita            3,500.00

4
Restitution Table     Case 2:11-cr-00054-TLN-CKD Document 326 Filed 03/18/15 Page 11 of 12
2:11-cr-0054 TLN


Michael Bolden      Victor Alvarado   Christopher Jackson            Rollins, Debra                 21,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Romo, Shari White              111,899.05
Michael Bolden      Victor Alvarado   Christopher Jackson            Ross, Lozelle                  1,102.63
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Rucker Jr., Willie             7,001.88
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Rudnick, Marcia                180,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Ruiz, Jen and Ernest           329,500.00
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Saetern, Nai                   38,408.38
Michael Bolden      Victor Alvarado   Christopher Jackson            Salabarria, Rico               50,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Schubauer (Anderson), Denise   100,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson            SF Peninsula Capital LLC       250,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Simpson, Deborah               330,852.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Sims, Sonya                    46,485.25
Michael Bolden      Victor Alvarado                                  Small, Verdell                 198,803.49
Michael Bolden                                                       Smith, Marlon                  99,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Sneed, Joyce                   50,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Snell, Lois                    2,001,699.27
Michael Bolden      Victor Alvarado   Christopher Jackson            Spruill, Florence              11,847.55
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Stanback, Del Richard          63,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Stephenson, Wanda              303,967.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Stevens, Charles A             110,000.00
Michael Bolden      Victor Alvarado                                  Stokes, William                75,011.63
Michael Bolden      Victor Alvarado                                  Tallichet, Jasmin              4,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Talmadge, Robert               89,583.62
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Tate, Carolyn                  49,200.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Tatum, Ron                     45,188.20
Michael Bolden      Victor Alvarado                                  Thompson, James                214,190.63
Michael Bolden                                                       Thompson, Merthia              70,522.84
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Van Koetsveld, Sandra          530,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Vincent, Diana                 236,461.58
Michael Bolden      Victor Alvarado   Christopher Jackson            Walker, Nellie                 174,488.92
Michael Bolden      Victor Alvarado   Christopher Jackson            Walker, Suzanne                30,000.00

5
Restitution Table     Case 2:11-cr-00054-TLN-CKD Document 326 Filed 03/18/15 Page 12 of 12
2:11-cr-0054 TLN


Michael Bolden                                                       West, Estrene & Charles   50,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson            White, Dorothy            78,087.43
Michael Bolden      Victor Alvarado   Christopher Jackson            Widemon, Karol            200,127.13
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Wilson, Carolyn           288,534.01
Michael Bolden      Victor Alvarado   Christopher Jackson            Wright, Darius            21,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Wright, Johnnie           68,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Wright, Lynda             82,228.48
Michael Bolden      Victor Alvarado   Christopher Jackson   Arceos   Yang, David               10,000.00
Michael Bolden      Victor Alvarado   Christopher Jackson            Yee, Mamie                67,749.50




6
